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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS (DALLAS)

 CRAIG CUNNINGHAM,                             )        Case No. 3:16-cv-02880
                                               )
               Plaintiff,                      )        Judge Barbara M. G. Lynn
                                               )
        vs.                                    )
                                               )
 STUDENT LOAN ASSISTANCE                       )
 CENTER, LLC, et al.,                          )
                                               )
               Defendants.                     )

                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Craig Cunningham and

Defendants EC Lending LLC, Student Assistance Center, Inc., Joshua Myers, Ryan McAweeney,

and Neil Billock (collectively, the “EC Lending Defendants”) hereby jointly stipulate to the

dismissal WITH prejudice of all of Plaintiff’s claims against these EC Lending Defendants.

       This Stipulation of Dismissal has no impact or effect on Plaintiff’s claims against

Defendants Student Loan Assistance Center, LLC and SL Doc Servicing, LLC only.

       Dated, this 25th day of August, 2017.

 Respectfully submitted,                           Respectfully submitted,

 /s/ Aaron K. Mulvey                               /s/ Matthew T. Anderson
 ________________________________                  ________________________________
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                                                   Attorney for Defendants EC Lending LLC,
                                                   Student Assistance Center, Inc., Joshua Myers,
                                                   Ryan McAweeney, and Neil Billock
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 25, 2017, this document was electronically filed via the

Court’s authorized electronic filing system, and this document was served via e-mail upon Aaron

K. Mulvey, Esq. and by regular mail upon the following:

 Aaron K. Mulvey, Esq.                            Student Loan Assistance Center, LLC
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 Attorney for Plaintiff                           Defendant

 SL Doc Servicing LLC
 c/o Legal Inc. Corporate Services, Inc.,
 Registered Agent
 5850 Granite Parkway, Suite 215
 Plano, TX 75024
 Defendant



                                                 /s/ Matthew T. Anderson
                                                _____________________________________
                                                Matthew T. Anderson
